Case: 3:10-mc-00002-S|c Document #: 1-2 Filed: 01/11/10 Page 1 of 3

'JENNERB\BLOCK

Jal'lllal'y 7, 2009 jenner 8c Block r.LP Chicago
9 i g Third Avenue I,.os Angeles

371h Floor New York
New York, NY 10022~3908 Washington, Dc

BY EMAIL Tel 212 891-1600

www.jenner.com

Constantin Luchian Giaimi F. Servodidio
DMCA Agent for WZ Communications, lnc. ;:; :;:§319'_’(‘;;§7
110 E. Broward Blvd., Suite 1700

Fort Lauderdale, FL 33301

Re: DMCA Notification of Copyright Infringement at www.tube8.com
Dear DMCA Designated Agent:

We are contacting you on behalf of Ventura Content AVV (“Ventura”). Ventura is the
owner of copyrights in a significant number of adult video works (the “Works”). Under penalty
of perjury, we submit that we are authorized to act on behalf of Ventura in matters involving the
infringement of their Works, including enforcing their copyrights and common law rights on the
Intemet.

We believe a customer of WZ Communications, lnc., whose website is hosted by WZ
Communications, lnc., is engaged in extensive copyright infringement of Works owned by
Ventura. That customer is operating a website, www.tube8.com, at the IP address 208.88.224.91
at 4:00 a.m. (EST), November 19, 2009 (the “infringing website”). The infringing website hosts
and distributes a number of video files corresponding to Ventura’s copyrighted Works, in
violation of longstanding principles of inducement, contributory, and vicarious liability under the
copyright laws. We have attached documentation concerning the above-described infringement
including a representative list of Works that are being infringed by the infringing website and
information sufficient to enable you to identify the website operator. We have a good faith belief
that the above-described activity is not authorized by the copyright owners, their agent, or the
law.

We are asking for your immediate assistance in stopping this unauthorized activity.

You should understand that this letter constitutes notice to you that this website operator
may be liable for the infringing activity occurring on your system or network. ln addition, if you
ignore this notice, you and/or your company may also be liable for any resulting infringement
This letter does not constitute a waiver of any right to recover damages incurred by virtue of any
such unauthorized activities, and such rights as well as claims for other relief are expressly
reserved. We assert that the information in this notification is accurate, based on information
available to us.

REC’D V?AN ll ZUEU

Case: 3:10-mc-00002-S|c Document #: 1-2 Filed: 01/11/10 Page 2 of 3
Lawrence G. Walters, Esq.

January 7, 2010
Page 2

Thank you in advance for your prompt assistance in this matter If you have any
questions, please feel free to contact me via e-mail at gps@jenner.com, via telephone at 212-891-
1620, or via mail at the address above.

Sincerely,

§ii…%lt/

Gianni P. Servodidio

Encl.

 

Case: 3:10-mc-00002-S|c Document #: 1-2 Filed: 01/11/10 Page 3 of 3

Lawrence G. Walters, Esq.

 

 

 

 

January 7, 2010
Page 3
Infringement on Website www.extremetube.com
Ventura URL
Work

ASP Vol. 2 http://www.tubeS.com/asian/lucy-thai-happy-ending 12388/
BES Vol. 3 http://www.tubeS.com/anal/laura-s~anal-exam/31923/
BSB Vol. 5

 

http://www.tube8.com/teen/back-seat-brittney/Z9769/

 

 

